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                  UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA

                                         )
                                         )
MICHAEL DEMARAIS,                        ) Case No.:
                                         )
             Plaintiff.                  ) 8:21-cv-00352-MSS-CPT
                                         )
      v.                                 )
                                         )
TRUEGREEN, L.P.,                         )
                                         )
                Defendant.               )
                                         )

                          NOTICE OF SETTLEMENT

      TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

reached settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



Dated: July 13, 2021                   By: /s/ Amy L. B. Ginsburg
                                         Amy L. B. Ginsburg, Esquire
                                         Kimmel & Silverman, P.C.
                                         30 E. Butler Pike
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                         CERTIFICATE OF SERVICE

             I, Amy L. B. Ginsburg, Esquire, do certify that I served a true and

correct copy of the Notice of Settlement in the above-captioned matter, upon the

following via electronic mail:

Carol Pearson
TruGreen – General Counsel
1790 Kirby Parkway
Forum II, Suite 300
Memphis TN 38138
Phone: (901) 251-4001
Email: carolpearson@trugreenmail.com
Attorney for Defendant




Dated: July 13, 2021                 By: /s/ Amy L. B. Ginsburg
                                       Amy L. B. Ginsburg, Esquire
                                       Kimmel & Silverman, P.C.
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